Case 4:19-cr-00172-RGE-HCA Document 130-11 Filed 06/28/21 Page 1 of 5




                                                                GOVERNMENT
                                                                  EXHIBIT

                                                                     41
                                                                  4:19-cr-172
Case 4:19-cr-00172-RGE-HCA Document 130-11 Filed 06/28/21 Page 2 of 5




                                                             GOVERNMENT
                                                               EXHIBIT

                                                                  42
                                                               4:19-cr-172
Case 4:19-cr-00172-RGE-HCA Document 130-11 Filed 06/28/21 Page 3 of 5




                                                                GOVERNMENT
                                                                  EXHIBIT

                                                                     43
                                                                  4:19-cr-172
Case 4:19-cr-00172-RGE-HCA Document 130-11 Filed 06/28/21 Page 4 of 5




                                                               GOVERNMENT
                                                                 EXHIBIT

                                                                    44
                                                                 4:19-cr-172
Case 4:19-cr-00172-RGE-HCA Document 130-11 Filed 06/28/21 Page 5 of 5




                                                               GOVERNMENT
                                                                 EXHIBIT

                                                                    45
                                                                 4:19-cr-172
